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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                 TALLAHASSEE DIVISION

B.T., et al.,

                Plaintiff,
v.                                            Case No. 4:22-cv-212-MW-MJF

Simone Marstiller, in her official capacity
as Secretary for the AGENCY FOR
HEALTH CARE ADMINISTRATION,
             Defendant.
______________________________________/

  PLAINTIFFS’ RESPONSE TO SIMPLY HEALTHCARE PLANS, INC.’S
                   MOTION TO INTERVENE

       Pursuant to Federal Rule of Civil Procedure 24 (“Rule 24”) and N.D. Local

 Rule 7.1, Plaintiffs B.T. and A.G., file this response in opposition to the motion

 to intervene filed by Simply Healthcare Plans, Inc. (Simply) (Doc. 41).

       I.       INTRODUCTION

       Simply’s motion to intervene fails to meet the elements of intervention as a

matter of right under Fed. R. Civ. P. 24(a)(2). It is untimely, having been filed four

months after Simply learned of its interests. Simply’s delay will prejudice

Plaintiffs, who are ready to conclude the limited discovery remaining and file for

summary judgment. At the same time, it poses no prejudice to Simply whose

interests are, and in fact, must be aligned with Defendant, the single state Medicaid

agency charged with the sole authority over Florida’s Medicaid program. And,


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while Simply cannot take a position contrary to that of Defendant in this litigation,

as a practical matter, Defendant’s actions demonstrate they have more than

adequately represented the interests of Simply whose goals in this litigation are

identical to that of Defendant.

      II.      SIMPLY’S INTERVENTION AS A MATTER OF RIGHT

            A. Simply’s Motion Is Not Timely

            1. Simply knew or should have known of their interest in this case well
               before they filed their motion.

      Whether a motion to intervene is timely filed “is a threshold factor that must

be satisfied before the other factors should be considered” and, while the other

factors are reviewed de novo, timeliness is reviewed only for abuse of discretion.

Hollywood Cmty. Synagogue, Inc. v. City of Hollywood, FL, 254 Fed. Appx. 769,

771 (11th Cir. 2007).

      Timeliness is measured not at the moment a movant learns of the pendency

of the litigation, but instead when “the would-be intervenor actually know[s] or

reasonably should have known of his interest in the case before he petitioned for

leave to intervene.” Stallworth v. Monsanto Co., 558 F.2d 257, 264 (5th Cir. 1973).

Once a potential intervenor has acquired such knowledge, however, “the tempo of

the court accelerates. The applicant must then act reasonably promptly.” Banco

Popular v. Greenblatt, 964 F.2d 1227, 1231 (1st Cir. 1992) (citations omitted).




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      There are multiple points in time Simply should have known of their interest

in the litigation. Simply had knowledge of Plaintiffs’ First Amended Complaint, at

least, a month after its filing on June 16, 2022. On June 22, 2022, counsel for

AHCA represented to the Court that, to properly respond to Plaintiffs’ Amended

Complaint, it would need to investigate the Complaint’s allegations including

collecting information from the managed care plans named in the Complaint. (Doc.

15 at 2). During the 26(f) conference on July 8, 2022, counsel for AHCA

represented that they were working with Simply to ensure Plaintiff B.T. received

all medically necessary therapy services.

      Furthermore, beginning in, at least, early August 2022, Defendant requested

the entry of a protective order to, in part, protect the proprietary interests of

Simply. On August 23, 2022, during a phone conversation about discovery,

counsel for Defendant represented that they were awaiting a response from Simply

and Sunshine about whether the protective order adequately protected the

information they believed to be confidential in the case. Counsel for Plaintiff then

memorialized this conversation via email. Beginning on September 8, 2022,

counsel for AHCA began to copy counsel for Simply (and Sunshine) on emails to

Plaintiffs’ counsel regarding Plaintiffs’ access to therapy services.

      In its Motion, Simply does not state when it learned of this litigation or

when they learned of their alleged interest, nor does it give a reason for the delay in


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filing its motion to intervene. (Doc. 41 at 4-5). Instead, it simply concludes that,

because other courts have found timely a motion to intervene filed five months

after the initiation of litigation, then their motion must be found timely too. (Id.).

This not the correct test for timeliness under Fed. R. Civ. P. 24(a).

      The correct test, as stated above, analyzes whether the intervenor delayed in

filing their motion once they learned of their interest in the litigation. Stallworth,

558 F.2d at 264. Once learned, the period in which their motion is considered

timely filed shortens. Banco Popular, 964 F.2d at 1231. Based on the date

communications between Simply and AHCA began in this case, the fact that

Simply participated in drafting the protective order filed with this Court, and that,

as stated in their Motion, all their purported interests arise from allegations set

forth in Plaintiffs’ First Amended Complaint (Doc. 41 at 2-3), Simply waited four

months (and potentially longer) after learning of their interests to file a motion to

intervene.

      A four-month lapse between the time an intervenor discovers an interest and

files a motion to intervene is not timely. See F.T.C. v. American Legal

Distributors, Inc., 890 F.2d 363, 365 (finding a motion to intervene untimely

where it was not filed “until two months after the date on which they alleged they

first could have done so.”); Brown ex rel. O’Neil v. Bush, 194 Fed. Appx. 879, 882

(11th Cir. 2006) (holding that “seven weeks is not too short of a time for an


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interested party to file a motion to intervene.”); compare Stallworth, 568 F.2d at

267 (finding that “by filing their motion less than one month after learning of their

interest…[the intervenors] discharged their duty to act quickly.”).

           2. Plaintiffs will be prejudiced if this motion is granted.

       The second factor in determining whether a motion to intervene is timely

evaluates “the extent of prejudice to the existing parties as a result of the would-be

intervenor’s failure to apply as soon as he knew or reasonably should have known

of his interest.” Hollywood Cmty. Synagogue, Inc., 254 Fed. Appx. at 771.

       Contrary to Simply’s assertions, prejudice to Plaintiffs has already occurred.

Counsel for Plaintiffs requested a routine extension to respond to this Motion

which was due on November 29, 2022, the day that mediation was scheduled in

this matter. (Doc. 43). Neither Simply nor Defendant were willing to consent to the

request unless: (1) Plaintiffs allowed Simply, a non-party, to question deponents

while its motion to intervene was still pending, or (2) Plaintiffs agreed to move

dates of previously set depositions to the last two weeks in the discovery period.1

Therefore, Simply’s representation that it “does not seek to delay discovery or

other proceedings…[and] [a]ccordingly, there is no risk of prejudice to the existing




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  Inexplicably, Simply did not express any interest in participating in mediation scheduled during
this same time period where their alleged interests would be directly addressed and potentially
resolved without their presence.


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parties in the case due to the timing of the motion” is not accurate. (Doc. 41 at 4-

5).

       If allowed to intervene, Simply could move to extend the discovery deadline

and conduct its own discovery. (See Doc. 44). The parties have long agreed that

this matter, if not settled, will likely be resolved on summary judgment. (Doc. 19,

¶4(e)). As such, it is reasonable to assume Simply would also file its own

dispositive motions, including a motion for summary judgment.

       Simply’s goal on summary judgment would be the same as Defendant’s;

their shared goal is to prove that their subcontractor’s administration of speech and

other pediatric therapies conform with EPSDT.2 As a result, intervention would

allow Defendant and the intervenors to make duplicative arguments within

multiple motions rather than being confined to a single motion for summary

judgment where Defendant is free to and capable of raising all defenses regarding

the EPSDT violation that Plaintiffs allege. Having to expend additional attorney

time to respond to multiple motions that all raise essentially identical arguments to

achieve the same goal would significantly prejudice Plaintiffs. This would also

interfere with the preservation of judicial economy. See Stallworth, 558 F.2d at 265




2
 In its motion to intervene, Simply states that it “has a direct and substantial interest is in
showing that it did not violate A.G.’s due process rights and that its private contract with HN1
does not trigger a violation of the federal Medicaid Act or the Fourteenth Amendment to the
United States Constitution.” (Doc. 41 at 6).

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(finding that a primary purpose of Rule 24 is to “foster economy of judicial

administration.”).

          3. Simply will not be prejudiced if the motion is granted because their
             interests are adequately represented by Defendant

      The third factor to be weighed in evaluating the timeliness of a motion to

intervene is “the extent of the prejudice to the would-be intervenor if his petition is

denied.” Hollywood Cmty. Synagogue, Inc., 254 Fed. Appx. at 771. Here, prejudice

to Simply would be minimal, if non-existent.

      Defendant is the single state Medicaid agency. As discussed in more detail

infra, by law, Simply stands in the shoes of Defendant in this matter. The issue in

this case is whether the Medicaid program is compliant with the Medicaid Act’s

EPSDT and due process provisions. AHCA, as the single state agency has ultimate

responsibility for ensuring that the state complies with federal law, including

whether the entities with which it contracts complies. Wilson v. Gordon, 822 F.3d

934, 953 (6th Cir. 2016) (“[S]tates remain ultimately responsible for ensuring their

Medicaid programs comply with federal law.”). Therefore, the interests of Simply

and AHCA are identical for the purpose of this case.

       Moreover, as Florida’s single state Medicaid agency, Defendant (and only

Defendant) is vested with the “final authority to make the many complex decisions

governing a state’s Medicaid program….” K.C. ex rel. Africa H. v. Shipman, 716

F.3d 107, 112 (4th Cir. 2013). As such, Simply could not take a position in this

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proceeding counter to Defendant and, thus, Simply would suffer no, or at best,

minimal prejudice if its motion to intervene is denied.

         Second, Defendant and Simply have communicated throughout the

pendency of this litigation. As stated above, Defendant copies Simply’s counsel on

email communications to Plaintiffs’ counsel about this case. Defendant also

insisted that counsel for Simply be present at Plaintiffs’ depositions of AHCA

witnesses. Any questions of fact Defendant may have about a subcontract AHCA

is required to approve3 or a utilization management model AHCA is required to

oversee4 can be resolved by Defendant and Simply freely sharing that information

as they have done throughout this case and as is required by Defendant in its

contracts with Medicaid managed care plans.5




3
 See AHCA Statewide Medicaid Managed Care Model Contract (hereafter, “SMMC Model
Contract”) at Attachment II (Core Provisions) Section X(C)(1)(a) (last updated 07/01/2022) at p.
138 accessible at: https://ahca.myflorida.com/medicaid/statewide_mc/pdf/Contracts/2022-02-
01/Attachment_II-Core_Contract_Provisions11-4-22.pdf (stating that “[t]he Managed Care Plan
shall submit all subcontracts for Agency review at least ninety (90) days before the proposed
effective date of the subcontract or change.”).
4
    See 42 C.F.R. §438.210(b).
5
  See SMMC Model Contract at Attachment II, Section X(C)(3)(b) at p. 142 (summarizing the
obligation of subcontractors to fully cooperate with Defendant regarding their right to access
records “pertaining to any aspect of services and activities performed” as well as any records
related to Medicaid enrollees…”).



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       Finally, to the extent that this litigation results in the interruption of contracts

between Simply and HN16 (neither who are party to this case), those disputes can

be addressed in state court litigation. Where there is the availability of another

forum to litigate legal issues that may arise from the litigation in which the movant

seeks to intervene, prejudice to the intervenor is minimal. See Hollywood Cmty.

Synagogue, Inc., 254 Fed. Appx. at 771 (finding no abuse of discretion where the

district court determined that prejudice to the intervenors “would be minimal as

they could litigate the constitutionality of the consent decree in another forum.”);

see also Mana-Sota88 v. Tidwell, 896 F.2d 1318, 1322 (11th Cir. 1990) (finding

that “a potential stare decisis effect does not automatically supply the practical

disadvantage warranting intervention.”).

           B. Simply Does Not Possess a Direct and Substantial Interest in this
              Matter

       Under Rule 24, “to have a necessary interest, a ‘putative intervenor must be

at least a real party in interest in the transaction which is the subject of the

proceeding.” Burke v. Ocwen Fin. Corp., 833 Fed. Appx. 288, 292 (11th Cir. 2020)

(quoting Purcell v. BankAtlantic Fin. Corp., 85 F.3d 1508, 1512 (11th Cir. 1996)).

Additionally, “[t]he interest must be more than purely economic and cannot be



6
  Oddly, in its Motion to Intervene, HN1 did not express any concern about the interruption of its
contract with Simply or others MCOs. It only alleged that it would interrupt its contracts with
therapy providers. (See generally Doc. 40).

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speculative.” Burke at 292 (citing Mt. Hawley Ins. Co., v. Sandy Lake Properties,

Inc., 425 F.2d 1308, 1311 (11th Cir. 2005)). Finally, like the prejudice analysis

undertaken in evaluating the timeliness of intervention, “the ability to separately

litigate [a purported interest] defeats the impairment element” of Rule 24. Burke at

292. (citations omitted).

       In A.H.R. v. Washington State Health Care Authority, the single state

Medicaid agency moved to join, under Fed. R. Civ. P. 19(a), several Medicaid

managed care organizations (MCOs) to a case where disabled child Medicaid

recipients alleged that the state failed to arrange for private duty nursing services in

violation of EPSDT. 469 F.Supp.3d 1018, 1033 (W.D. Wa. 2016). Under Rule 19,

the court was charged with determining whether the person (or entity) being

proposed to join the litigation had “an interest in the action and resolving the action

in the person’s [or entity’s] absence may as a practical matter impair or impede the

person’s ability to protect that interest.”7 Id. at 1035. The court found that

“administrative, operational, and financial interests” which arose from contracts

between the MCOs and Washington’s Medicaid agency were merely financial and

did not constitute a “legally protected interest.” Id. at 1035-36.


7
  While the Eleventh Circuit has not interpreted the requirements of Rule 19 and Rule 24 the
same, case law suggests that establishing a legally protected interest under Rule 19 may require a
less stringent showing than that required by Rule 24. See Davis v. BancInsure, Inc., No. 3:12–
cv–113–TCB, 2013 WL 1226491 *7 (N.D. Ga., March 18, 2013). As such, if proposed necessary
parties (like the MCOs sought to be joined in A.H.R.) do not meet the interest test under Rule 19,
then they are unlikely to meet it under Rule 24. Davis at *7.

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      The court further found that the contractual relationship between the MCOs

and the state Medicaid agency itself was not a legally protected interest. Id. at

1035-36. The court reasoned that the plaintiff Medicaid recipients' suit did “not

represent ‘an attack’ on the agreements…Plaintiffs assert only claims for statutory

violations against [the single state agency].” Id. at 1036. The court further stated

that “[a]lthough Plaintiffs’ suit may tangentially relate to…[the Medicaid

agency’s] contracts with the MCOs, it does not represent an attack on those

contracts or seek to set them aside.” Id.

      Here, Simply is not “a real party in interest in the transaction which is the

subject of the proceeding.” Burke, 833 Fed. Appx. at 292. Simply contracts with

Defendant but does not allege in its motion, nor could it, that its contract with

Defendant will be impacted by any judgment in this case. The contract between

Simply and HN1 – the interest Simply focuses on in its intervention motion – is a

subcontract under Defendant. However, as in A.H.R., any “effect on…[Simply’s]

operations and bottom lines” that Simply asserts in its contract with HN1 is merely

financial and therefore does not rise to a legally protected interest. 469 F.Supp.3d

1035-36; see also Burke, 833 Fed. Appx. at 292.

      Furthermore, the contractual relationship between the MCOs and HN1 itself

is not a legally protected interest. This is because, like in A.H.R., Plaintiffs only

seek to have their federal Medicaid rights upheld. Id. at 36. Their prayer for relief


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does not request that any contracts be set aside.8 (Doc. 10). Plaintiffs instead seek a

declaration that because the HN1 Model caps the amount of speech therapy a child

Medicaid recipient can receive and does not provide adequate written notice when

doing so, the Model violates the federal Medicaid Act’s EPSDT and due process

provisions. (Id.). If contracts between Simply and HN1 are impacted by a judgment

in this matter (which is speculative), that affect is tangentially related to the

enforcement of Plaintiffs’ statutory rights. Burke, 833 Fed. Appx. at 292; A.H.R.,

469 F.Supp.3d at 1036.9 Therefore, Simply does not satisfy the “legally protected

interest” test under Rule 24.

           C. Simply’s Participation is Unnecessary because Its Interest is
              Adequately Represented by Defendant as Simply Cannot Assert
              an Interest that Diverges from Defendant.

       As stated above, Simply’s purported interest is adequately represented in this

litigation. First, the question at issue is whether Florida’s Medicaid program’s

administration of pediatric therapies complies with the Medicaid Act’s EPSDT and


8
 As evidence that Plaintiffs do not attack or seek to set aside Simply’s contracts with HN1, they
suggest two potential examples of resolutions that would avoid such outcome. First, Defendant
could develop and implement an exceptions process that gives Medicaid enrolled children the
ability to request being carved out of the HN1 Model because their therapy needs exceed the
budget assigned by the Model. Similarly, Defendant could develop and publish a written
protocol detailing how child Medicaid recipients can request that a Florida Medicaid managed
care plan establish a single case agreement when recipients are unable to locate a therapist who
can provide them all medically necessary care within the budget prescribed by the HN1 Model.
Neither of these solutions would significantly affect the terms of Simply’s contracts with HN1.
9
  Additionally, as stated above, if contracts between Simply and HN1, who are not parties, are
impacted, Simply (and HN1) have recourse in state court which similarly defeats the element of
“interest.” Burke, 833 Fed. Appx. at 292.

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due process provisions. Defendant is ultimately responsible for ensuring

compliance with Medicaid requirements. Wilson, 822 F.3d at 953. In turn, Simply

is bound by the directives of Defendant as Secretary of Florida’s single state

agency for the Medicaid program. See 42 U.S.C. §1396a(a)(5). Implementing the

“single state agency” requirement is 42 C.F.R. §431.10(e)(3) which states:

             “If any other State or local agencies or offices perform
             services for the Medicaid agency, they must not have the
             authority to change or disapprove any administrative decision
             of that agency, or otherwise substitute their judgment for that
             of the Medicaid agency with respect to the application of
             policies, rules, and regulations issued by the Medicaid
             agency.” (Emphasis added).

      The purpose of “the single state agency requirement reflects two important

values: an efficiency rationale and an accountability rationale.” K.C. ex. rel. Africa

H. v. Shipman, 716 F.3d 107, 112 (4th Cir. 2013). The first value – efficiency –

“avoids the disarray that would result if multiple state or even local entities were

free to render conflicting determinations about the rights and obligations of

beneficiaries and providers.” Id. The second value – accountability – “safeguards

against the possibility that a state might seek to evade federal Medicaid

requirements by passing the buck to other agencies that take a less generous view

of a particular obligation.” Id. This principle applies in the context of litigation

decisions. In K.C., the Fourth Circuit held that an MCO cannot appeal a

preliminary injunction order if the state agency chooses not to. Id. at 111-112. Cf.



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Weisner v. Washtenaw Cnty., -- N.W.2d --, 2022 WL 495102 (Mich. Ct. App.

2022) (holding MCO may not appeal final state administrative hearing decision

favorable to Medicaid beneficiary).

     Here, intervention (which allows individuals with interests that compete with

those of the existing parties to participate in litigation) is in tension with the single

state agency requirement. Allowing Simply to intervene and take a course of action

distinct from that of Defendant would run counter to the rationale of the single

state agency regulation as articulated in K.C. 716 F. 3d at 112. Simply would be

able to push legal and factual arguments about the rights of Medicaid recipients

that conflict with Defendant’s position. Id. It would also offer Defendant a

platform to disown the actions of entities for which Defendant is solely responsible

based on the financial interests of those entities rather than the interests of Florida

Medicaid recipients.10 Id. at 112-13.

     Additionally, Simply has asserted the same goal as Defendant in this litigation

(Doc. 41 at 6) and, as set forth in detail above, has worked closely with Defendant

to achieve that goal. This cooperation included Defendant seeking a protective

order on Simply’s behalf, advocating for Simply’s participation in discovery even




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  For this same reason, Simply being allowed to intervene could significantly interfere with
Defendant’s attempts to settle this matter in a manner that recognizes and reflects its obligations
toward Medicaid recipients, as opposed to interests, like Simply’s, that may run counter to those
obligations.

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prior to their filing of a motion to intervene, and copying them on case

correspondence between plaintiff and defense counsel. The Court can therefore

presume Defendant adequately represents Simply’s interests. See Chiles v.

Thornburgh, 865 F.2d 1197, 1215 (11th Cir. 1989) (citing Athens Lumber Co., Inc.

v. Federal Election Com’n, 690 F.2d 1364, 1366 (11th Cir. 1982).

      In summary, Simply fails to meet the elements of intervention as a matter of

right and its motion under Rule 24(a)(2) should be denied.

II.     SIMPLY’S REQUEST FOR PERMISSIVE INTERVENTION

        As shown above, Simply is also not entitled to permissive intervention.

Permissive intervention is “wholly discretionary” and can be denied “even though

there is a common question of law or fact, or the requirements of Rule 24(b) are

otherwise satisfied….” Purcell, 85 F.3d at 1513 (citing Worlds v. Dep’t of Health

and Rehab. Svces., State of Fla., 929 F.2d 591, 595 (11th Cir. 1991)).

        First, Simply did not file their motion timely. Second, Simply cannot, based

on federal Medicaid law, assert a legal defense contrary to that of Defendant, the

single state Medicaid agency. Finally, Simply’s primary argument for the Court to

exercise its discretion in favor of intervention is that Simply “does not intend to

request any extension of the current deadlines or discovery…” (Doc. 41 at 9). This

representation is no longer accurate, however, as Simply has already sought to

interfere with discovery even prior to being given leave to intervene by demanding


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that, to receive an extension of time to respond to this motion, Plaintiffs either stall

the scheduled dates for deposition or allow Simply to participate, as non-parties, in

those depositions. As such, Simply’s motion for permissive intervention should not

be granted.

      WHEREFORE, Plaintiffs respectfully request this Court deny Simply’s

Motion to Intervene.

Respectfully submitted this 15th day of December 2022.


                                        /s/ Katy DeBriere
                                        Katherine DeBriere


                       REQUEST FOR ORAL ARGUMENT
      Pursuant to N.D. Loc. R. 7.1(K), because there are factual matters related to

when Simply learned of its interest in this litigation that counsel for Simply may

best be able to answer, Plaintiffs request oral argument if probing those matters is

beneficial to the Court’s ultimate determination of Simply’s motion.

                       CERTIFICATE OF WORD COUNT
      Pursuant to N.D. Loc. R.7.1(F), undersigned counsel certifies that, according

to Microsoft Word, the word-processing system used to prepare this Motion and

Memorandum, there are 3,756 total words contained within this Response.

                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on this 15th day of December 2022, I


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electronically filed the foregoing Motion with the Clerk of Court using the

CM/ECF system which will send a notice of electronic filing to all counsel of

record.

                                        /s/ Katy DeBriere
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